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                   IN THE UNITED STATES DISTRICT CQUlff'^^'?

                        FOR THE DISTRICT OF WYOMnte-£M -            -a-}
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 RIA R SQUARED,INC., a Delaware
 Corporation,

               Plaintiff,
        vs.                                   Case No. 21-CV-0221-SWS

 JONATHAN TONKOWICH,

              Defendant.


                    Order Denying Defendant's Motion to Dismiss
                        for Lack of Subject Matter Jurisdiction

      The above-captioned matter comes before the Court on Defendant's Motion to

Dismiss Plaintiffs Complaint Pursuant to Rule 12(b)(1) ofthe Federal Rules of Civil

Procedure(ECF No. 5). The Court, having reviewed Defendant's motion and supporting

materials. Defendant's response in opposition(ECF No. 7)and otherwise being fully

advised in the premises, finds and orders as follows:

                                      Background

      As alleged in Plaintiffs Complaint(ECF No. 1)Plaintiff(R Squared)loaned Paul

McCown's LLC,McCown Enterprises, fifteen million dollars in May of2021. M at 117.

Defendant, Mr. Tonkowich,then the Executive Vice President of Wyoming Catholic

College's is alleged to have facilitated this loan to McCown, who at the time was the

ChiefFinancial Officer of Wyoming Catholic College. Id. at      10-13,20. Shortly after

funding the fifteen-million-dollar loan (via wire on May 11, 2021 of$14.7 million)
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Plaintiff alleges it learned the financial documentation and the attestation as to

McCown's bank account balances were "forged, inaccurate and fraudulent."Id. at ^ 20.

       It is alleged that almost immediately upon receipt ofthe $14.7 million loan from R

Squared, McCown made numerous transfers, including a $375,000 transfer(without

consideration)to Defendant,"his close friend and colleague at WCC who had introduced

WCC and McCown to R Squared's principal,"(ECF No. 1 at ^ 22). Upon receipt ofthese

funds Defendant wasted no time in "gifting" some ofthis money to family members and

friends(ECF No. 5-1 at 2-4) along with $40,000 to the Tonkowich Family Fund of

DonorsTrust(ECF No. 5-1 at 5). With Defendant's cooperation some, but not all, ofthis

money was able to be seized by the Federal Bureau ofInvestigation (FBI).(ECF No. 5 at

2-3). In total the FBI was able to seize $301,129.11 from Defendant's bank account that

McCown had transferred to Defendant.(ECF No. 1 at 5). To date neither the remaining

$73,870.89 nor the $301,129.11 proceeds Defendant originally received from McCown

have been returned to Plaintiff.(ECF No. 1 at H 38), Thus, Plaintiff seeks to recover from

Defendant the $375,000 fraudulently transferred to Defendant from McCown plus

interest. Id.


                                          Analysis

       Defendant argues that the amount in controversy does not meet the $75,000

amount in controversy requirements for diversity jurisdiction.(ECF No. 5 at 4). In

making this argument Defendant deducts from Plaintiffs claim the $301,129.11 amount

currently in the FBI's possession. Id. However,such an argument ignores reality and the

law. Plaintiffs Complaint seeks to recover from Plaintiff$375,000(the total amount
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Defendant allegedly received in the scheme), plus interest.(ECF No. 1). That some of

that amount may ultimately be paid or provided through the funds recovered by the FBI

does not render the amount in controversy as to Plaintiffs legal claims against this

Defendant anything less than the $375,000. "Subject-matter jurisdiction under 28 U.S.C.

§ 1332(a)(1) requires:(i) complete diversity among the parties; and (ii) that 'the matter in

controversy exceeds the sum or value of$75,000, exclusive ofinterest and costs.'" De La

Rosa V. Reliable, Inc., 113 F. Supp. 3d 1135, 1150(D.N.M. 2015). We determine the

"amount in controversy" at the time the complaint is filed—^not by the amount that may

be found ultimately due. Broderickv. Keller, 2002 WL 89908 at 3(10th Cir. Jan. 24,

2002). An event that does or, in this case,"might" occur after the filing (such as the FBI's

payment ofthe seized funds to Plaintiff) does not remove or prevent this Court from

exercising jurisdiction in this case. See Nature's Sunshine Products, Inc. v. De La Mora,

2005 WL 6966457 at 1 (D.Utah May 2,2005). Thus, the FBI's seizure and "potential"

payment ofthose funds as attributable to Defendant's liability do not change the amount

in controversy or the amount claimed against Defendant.

                                       Conclusion


      Plaintiffs Complaint establishes complete diversity ofthe parties and that the

amount in controversy, at the time of filing, exceeds $75,000, exclusive offees and costs.

Thus,this Court does not lack subject matter jurisdiction. Therefore, it is hereby
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      ORDERED Defendant's Motion to Dismiss Plaintiffs Complaint Pursuant to Rule

12(b)(1) of the Federal Rules of Civil Procedure(ECF No. 5)is hereby DENIED.

      Dated this ^    day ofFebruary, 2022.




                                Scott W. Skavdahl
                                United States District Judge
